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4
     Attorney for Defendant
     Gabriel Viramontes
5
                          UNITED STATES DISTRICT COURT
6
                        EASTERN DISTRICT OF CALIFORNIA
7

8
     UNITED STATES OF AMERICA         )
9                                     )     No. Cr.S-07-432 EJG
                     Plaintiff        )
10                                    )
               vs.                    )     REQUEST FOR ORDER TO U.S.
                                      )     MARSHAL THAT DEFENDANT NOT
11                                    )     BE TRANSFERRED TO BUREAU OF
     GABRIEL RICHARD VIRAMONTES       )
12                                    )     PRISONS PENDING RESOLUTION OF
                                      )     MATTERS STILL BEFORE THE
13                   Defendant        )     DISTRICT COURT (PROPOSED
                                      )     ORDER)
14                                    )

15
                     INTRODUCTION and BASIS FOR REQUEST
16
        In this matter defendant, Gabriel Viramontes, was sentenced
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     to prison for 57 months on February 17, 2012. On February 24,
18
     2012 defendant filed a timely notice of appeal. On March 14,
19
     2012 defendant filed a motion for bail review pending appeal
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21
     (automatically served on pre-trial services) which motion is

22   presently pending to be heard on April 6, 2012 at 10:00 AM. Mr.

23   Viramontes has expressed a desire to be present at all court

24   proceedings.

25      Undersigned has consulted with the United States Marshal’s




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1    Office and has learned that Mr. Viramontes’ prison location has
2    been designated and that his transfer from local custody to the
3
     Bureau of Prisons and federal prison is imminent. Accordingly,
4
     the Marshal’s Office has requested this Court issue an order so
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     that it may delay Mr. Viramontes’ transfer to a date convenient
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     to the Court. It is suggested that this Court issue an order
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     that Mr. Viramontes remain in local custody until at least May
8
     7, 2012, in order to provide the Court and the parties time to
9
     resolve this issue and the as yet unscheduled restitution
10
     hearing.
11

12      Undersigned has consulted with AUSA Anderson and he is in

13   agreement with this Court’s issuing such and order. (Although he

14   does wish to contest defendant’s application for bail pending

15   appeal.)

16      Dated: March 14, 2012                Respectfully submitted,
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                                             /s/MICHAEL B. BIGELOW
18
                                             Michael B. Bigelow
                                             Attorney for Defendant
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1                              ORDER (Proposed)
2         FOR GOOD CAUSE SHOWN: It is hereby ordered that the United
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     States Marshal’s Office shall retain defendant Gabriel
4
     Viramontes in local custody, and not release him to the Bureau
5
     of Prisons until May 7, 2012, or further order of this Court.
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     DATED: March 14, 2012            /s/ Edward J. Garcia
8                                     EDWARD J. GARCIA, JUDGE

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